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UN|TED STATES DlSTRlCT COURT
DlSTRlCT OF MASSACHUSETTS

Fresenius Medica| Care Ho|dingsl |nc.

 

P|aintiff
C|V|L ACT|ON
V.
NO. 09-11130-RGS
Paddock Labs
Defendants
SETTLEMENT ORDER OF D|SMlSSAL
STEARNS D.J.
The Court having been advised on 2123/12 that the above-

 

entit|ed action has been settled;
|T lS ORDERED that this action is hereby dismissed without costs and without
prejudice to the right of any party, upon good cause shown, to reopen the action within

thirty (30) days if settlement is not consummated.~ l v

2123/12
Date

 

(Dismissa| Sett|ement.wpd - 12/98)

 

